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3
     Sacramento, California 95814
4    Telephone: (916) 422-4022
     Attorneys for Matthew Gillum
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6
                         IN THE UNITED STATES DISTRICT COURT
7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                  )   Case No. 2:13-cr-00393-MCE
10                                              )
                  Plaintiff,                    )
11                                              )   STIPULATION AND ORDER FOR
           vs.                                  )   CONTINUANCE OF JUDGMENT AND
12                                              )   SENTENCING
     MATTHEW GILLUM,                            )
13                                              )
                  Defendant                     )
14                                              )
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for February 19, 2015, at 9:00 a.m. is continued to
18   March 26, 2015, at 9:00 a.m. in the same courtroom. Probation has also been informed
19   of the continuance request. Defendant needs additional time to prepare for sentencing
20   and requested a continuance.
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1    Justin Lee, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s
2    attorney, agree to this continuance.
3
4    IT IS SO STIPULATED.
5
     DATED: February 12, 2015                      By:    /s/ Thomas A. Johnson
6                                                         THOMAS A. JOHNSON
                                                          Attorney for Matthew Gillum
7
8
9
10   DATED: February 12, 2015                             BENJAMIN B. WAGNER
                                                          United States Attorney
11
                                                    By:    /s/ Thomas A. Johnson for
12                                                        JUSTIN LEE
                                                          Assistant United States Attorney
13
            IT IS SO ORDERED.
14
15   Dated: February 18, 2015
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6
                            IN THE UNITED STATES DISTRICT COURT
7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-00393-MCE
10                                                  )
                   Plaintiff,                       )
11                                                  )   MODIFICATION OF SCHEDULE FOR
            vs.                                     )   PRE-SENTENCE REPORT AND FOR
12                                                  )   FILING OF OBJECTIONS TO THE PRE-
     MATTHEW GILLUM,                                )   SENTENCE REPORT
13                                                  )
                   Defendant                        )
14                                                  )
15
16   Judgment and Sentencing date:                             March 26, 2015

17   Reply or Statement                                        March 19, 2015
18   Motion for Correction of the Pre-Sentence
19   Report shall be filed with the court and                  March 12, 2015
     served on the Probation Officer and opposing
20   counsel no later than:
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     The Pre-Sentence Report shall be filed with
22   the court and disclosed to counsel no later               February 19, 2015     __
     than:
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